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                               SO ORDERED: August 30, 2019.




                               ______________________________
                               Robyn L. Moberly
                               United States Bankruptcy Judge




                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

    In re:
                                                            Chapter 11
                           1
    USA GYMNASTICS,
                                                            Case No. 18-9108-RLM-11
                           Debtor.



     ORDER SHORTENING NOTICE ON DEBTOR’S MOTION FOR AUTHORITY TO
               PAY CERTAIN PREPETITION OBLIGATIONS OF
                 CRITICAL VENDOR COACHES AND CLUBS

             This matter came before the Court on the Motion To Shorten Notice (the “Motion”) on

Debtor’s Motion For Authority To Pay Certain Prepetition Obligations Of Critical Vendor


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 The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
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Coaches and Clubs (the “Critical Vendor Motion”) filed by USA Gymnastics (the “Debtor”) for

an order pursuant to Rule 9006(c) of the Federal Rules of Bankruptcy Procedure, Rule 9006-1(a)

of the Local Rules of the United States Bankruptcy Court for the Southern District of Indiana (the

“Local Rules”), and section III.F of the case management procedures appended to the Order

Granting Debtor’s Motion For Order Establishing Certain Notice, Case Management, And

Administrative Procedures [Dkt. 213] (the “Case Management Procedures”); and the Court finds

that (i) it has jurisdiction over this matter pursuant to 28 U.S.C. § 1334(b); (ii) this matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A); (iii) the relief requested in the Motion

is in the best interests of the Debtor, its estate, and creditors, and any party in interest; and after

due deliberation, and good and sufficient cause appearing therefore, the Court hereby determines

the Motion should be GRANTED.

        IT IS HEREBY ORDERED:

        1.      The Motion is granted.

        2.      The Debtor shall serve this Order and certify such service in accordance with the

Case Management Procedures and Local Rules 9006-1(d) and 9006-1(e).

        3.      The Critical Vendor Motion is set to be heard at a hearing (the “Hearing”) to be

held on September 17, 2019 at 1:30 p.m. (prevailing Eastern time) in Room 329 of the United

States Bankruptcy Court, 46 East Ohio Street, Indianapolis, Indiana 46204.

        4.      A dial-in telephone number for interested parties to participate in the Hearing by

conference call is 1-888-273-3658, passcode: 9247462#. All callers shall keep their phones muted

unless addressing the Court. All callers must identify themselves and the party(ies) they represent

when addressing the Court. Callers shall not place their phones on hold during the Hearing.




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       5.     Any responses to the Critical Vendor Motion must be in writing and filed with

the Clerk’s Office and served, via the Court’s ECF system, by September 10, 2019 at 4:00

p.m. (prevailing Eastern time). Any replies in support of the Critical Vendor Motion must

be in writing and filed with the Clerk’s Office and served, via the Court’s ECF system, by

September 13, 2019 at 4:00 p.m. (prevailing Eastern time).

       6.     The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

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